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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


    DONALD J. TRUMP FOR PRESIDENT,
    INC., et al.,

          Plaintiffs,                                                 Case No. 1:20-cv-1083

    v.                                                                HON. JANET T. NEFF

    JOCELYN BENSON, et al.,

          Defendants.
    ____________________________/

                                              ORDER

         Pending before the Court is a Motion to Intervene recently filed by the City of Detroit (ECF

No. 14). The proposed intervenor received concurrence in its motion from anticipated 1 counsel

for Defendants, but the proposed intervenor did not receive concurrence from Plaintiffs (ECF No.

16). This Court previously imposed a 5:00 p.m. deadline for any responses to the other two

pending motions to intervene (11/16/2020 Order, ECF No. 13) and will, pursuant to W.D. Mich.

LCivR 7.1(c), impose the same deadline for any responses to this motion. Therefore:

         IT IS HEREBY ORDERED that Responses, if any, to the City of Detroit’s Motion to

Intervene (ECF No. 14) shall be filed not later than 5:00 p.m. on Monday, November 16, 2020.


Dated: November 16, 2020                                        /s/ Janet T. Neff
                                                              JANET T. NEFF
                                                              United States District Judge




1
 Plaintiffs have not yet served Defendants, and no appearances from counsel have yet been filed
on behalf of Defendants.
